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                    Exhibit ‘A’
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Data Credibility in Cryptocurrency Investigations
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The Black Box Approach

           Black box analytics hinder investigations and impair testimony




                                                                           CANNOT BE
      UNVERIFIED
                                                                            USED IN A
       SOURCES
                                                                           COURT OF
                                                                              LAW




 2
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How attribution data can be collected

                       CREDIBLE ANALYTICS                                                         OTHER ANALYTICS




     VERIFIED OPEN            ACTIVE                  PRIVATE                             UNVERIFIED OPEN            BLACK BOX
     Active Live Accounts     Hunting and Targeting   Verified User Feedback              Unverified databases and   Potentially unauthorized
     Dark Market / Deep Web   Malware Analysis        Private Threat Intelligence         open forums                customer data, unverified
     Full Blockchain Nodes    Honey Pots              APWG eCrime Exchange                                           user feedback, clustering
                                                      Stolen Cryptocurrencies                                        errors and false positives
                                                      Fraudulent ICOs




 3
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Importance of model validation


     •Customers of a blockchain analytics provider may not know they are using a Black
      Box model.
     •Model validation verifies the accuracy of the data enrichment and checks the
      performance of the model.

      – Providers should have well documented, auditable processes for attribution and
        clustering.

      – Providers should assess ongoing and historical attribution and clustering
        activity.




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Clustering Approaches



                     S E PA R AT E D C LU ST E RS                   S I N G L E E N T I T Y C LU ST E R
P RO S                                                                                                    P RO S

                           HYDRA MARKET                                      HYDRA MARKET
ü High fidelity                                                                                           ü Quick, high-
ü True to
                                  CLUSTER 1
                                                                               •   1JRE……..                 level overview
                                 •  1JRE……..
                                                                               •   1pKR……..
  blockchain                     •
                                 •
                                    1pKR……..
                                    17pM…….
                                                                               •   17pM……..
                                                                                                          CO N S
                                                                               •   32L9……..
                                      .
ü Easily verify                   CLUSTER 2
                                                                               •   3c88……..
                                 • 32L9……..
                                                                               •   3VeX……..
                                                                                                          ✗ Not verifiable
  attribution                    • 3g7K……..
                                                                               •   bc1q4……..
                                 • 3VeX……..
                                                                               •
                                                                               •
                                                                                   ……………
                                                                                   ……………                  ✗ All data is
CO N S                               CLUSTER 3                                                              lumped
                             •        bc1q4……...
✗ Separate                                                                                                  together
  clusters won’t                                                                                          ✗ Higher
  group together                                                                                            probability of
  visually                                                                                                  false positives
                                                                                                            and errors
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Separated Cluster Example: Al Qassam Brigades




    3 L h P 8 J YJ 7 7 c j 2 e V X B a s Y 9 2 Z 6 o m Ty R b U d b h                1 7 Q AW G Vp F V 4 g Z 2 5 N Q u g 4 6 e 5 m B h o 4 u D P 6 M D
                             Case 1:21-cr-00399-RDM                 Document 159-2     Filed 08/08/23       Page 8 of 17
Separated Cluster Example: Al Qassam Brigades




    3 L h P 8 J YJ 7 7 c j 2 e V X B a s Y 9 2 Z 6 o m Ty R b U d b h                1 7 Q AW G Vp F V 4 g Z 2 5 N Q u g 4 6 e 5 m B h o 4 u D P 6 M D
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Single Entity Tracing
 A Global exchange was contacted by a blockchain analytics firm
 (utilizing wallet-based tracing tools) who informed them that they had
 a customer send a very small BTC donation to al Qassam Brigades.
 Global exchange approached CipherTrace to verify the trace:
                                                                                       *recreated trace view
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  Single Entity Tracing

What the on-chain
trace actually looks
        like.
                                                                                           *recreated trace view
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Single Entity Tracing




                                                                                        *recreated trace view




Wasabi CoinJoin
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Artificial Clustering w/ Cluster Based Tracing
  CipherTrace was asked to verify the following trace:

                                                                                                  *recreated trace view
      Self-custody address




                                                  472.76 BTC                     307.83 BTC

                     9.17 BTC

                                      1PAaf                          1Bade                     Client:
                                     Wallet 1                       Wallet 2                   VASP - OTC Desk
        Source of theft                                                                        Funds Freeze
                                                               (OTC desk collection
        Un-hosted address                                           address)                   Request
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Destination Output 1PAaf




                Address          1PAafXXXXXXXXXXXXXXXXXXXXXXXX
                Transactions     3
                Total Received 0.79950000 BTC
                Total Sent       0.79950000 BTC
                Final Balance    0.00000000 BTC
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                            1PAaf
                                                                                 17Pg


                             1PAaf

Additional address in the                                                        1H2M
         cluster
       (Single use           1A9YK

        Address)
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Artificial Clustering w/ Cluster Based Tracing
9.17 BTC Transaction



                                                                                           *recreated trace view
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  Artificial Clustering w/ Cluster Based Tracing

                                                                              19 hops
                                                                                                *recreated trace view


9.17 BTC Transaction                                                                     VASP client’s Deposit Peel-chain




                                                                                        Peel-chain consolidates with
                                                                                        other high-volume deposits.
                               CipherTrace stopping point.
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Clustering False Positives

   •There are known false positives that exist for clustering heuristics, which require
    investigators to look at and rely on other data points to confirm clustering.
   •Important to not just cluster addresses and never look back at them
   •Most common example of technique used to break clustering heuristics is coinjoins.



                                2 BTC   ALIC                                                                 1 BTC
These addresses                          E
would traditionally
cluster together, but           3 BTC   BOB                                TX                                1 BTC
shouldn’t if in a coinjoin

                                                                           .05 BTC
                                1 BTC   EVE                            Transaction Fee                       4 BTC



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